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7    DeVry University, Inc.
8
9
10
                              UNITED STATES DISTRICT COURT
11
                         SOUTHERN DISTRICT OF CALIFORNIA
12
13
     DELAINYA BELL, on behalf of            Case No. TBD '24CV2464 BEN BLM
14   others similarly situated,
15              Plaintiffs,
                                            DECLARATION OF MARK
16        v.                                WALLIN IN SUPPORT OF
                                            DEFENDANT’S NOTICE OF
17   DEVRY UNIVERSITY, INC.;                REMOVAL
     and DOES 1 through 50, inclusive
18                                          [Filed concurrently with Notice of
                                            Removal, Declaration of Gaurav
19               Defendants.                Khurana, and Civil Cover Sheet]
20                                          Action Filed:         November 21, 2024
                                            Trial Date:           Not Set
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                                           45670153.1
          DECLARATION OF SCOTT J. WITLIN IN SUPPORT OF DEFENDANT’S
                     PETITION AND NOTICE OF REMOVAL
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1                          DECLARATION OF MARK W. WALLIN
2
3    I, Mark Wallin, declare:
4          1.     I am an attorney licensed to practice before all of the courts of the State of
5    California as well as this Court. I am a Partner with the law firm of Barnes & Thornburg
6    LLP, counsel of record for Defendant DeVry University, Inc. (“Defendant”).
7          2.     Other than matters stated on information and belief, I have personal
8    knowledge of the matters set forth in this Declaration and, if called as a witness, could
9    and would testify competently to them. As to any statements made on information and
10   belief, I believe them to be true to the best of my knowledge and would so testify.
11         3.     I submit this Declaration in support of Defendant’s Petition and Notice of
12   Removal.
13         4.     Attached as Exhibit A is a true and correct copy of the Summons,
14   Complaint, and accompanying documents served by Plaintiff to Defendant. The
15   Summons; Complaint; [State Court] Civil Case Cover Sheet; Notice of Case
16   Assignment and Case Management Conference; and Alternative Dispute Resolution
17   (ADR) Information Package; which represent all of the documents served upon
18   Defendant by Plaintiff as of the filing of this declaration.
19
20         I declare under penalty of perjury under the laws of California and the United
21   States of America that the foregoing is true and correct.
22
23         Executed on this 26th day of December, at Chicago Illinois.
24
25
                                             /s/        Mark W. Wallin, Esq._____________________________________
26                                                      Mark W. Wallin
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          DECLARATION OF SCOTT J. WITLIN IN SUPPORT OF DEFENDANT’S
                     PETITION AND NOTICE OF REMOVAL
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         EXHIBIT A
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 6

 7
      Attorneys for Plaintiff Delainya Bell

 8                   SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9
                                 FOR THE COUNTY OF SAN DIEGO
IO
11    DELATNYA BELL, on behalf of others similarly          Case No.          24CU024488C
      situated,
12                                                          CLASS ACTION
                             Plaintiffs,
13                                                          CLASS ACTION COMPLAINT
14           vs.
                                                            1.   Failure to Pay All Wages Owed
15    DEVRY UNIVERSITY, INC. and DOES 1                     2.   Failure to Pay All Overtime Wages
      through 50, inclusive,                                3.   Paid Sick Leave Violations
16                                                          4.   Untimely Payment of Wages
                             Defendants.                    5.   Wage Statement Violations
17                                                          6.   Waiting Time Penalties
18                                                          7.   Failure to Reimburse Business Expenses
                                                            8.   Unfair Competition
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                                           CLASS ACTION COMPLAINT
                                            Bell v. De Vry University, Inc.
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